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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:21−cr−00698
                                                       Honorable Robert W. Gettleman
Ronald T. Molo
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, March 31, 2023:


        MINUTE entry before the Honorable Robert W. Gettleman as to Ronald T. Molo:
Government's Motion [46] To Seal Its Sentencing Memorandum [45] is granted.
Government is directed to file a redacted sentencing memorandum on the docket. Mailed
notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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